Case 1:25-cv-00748-JKB Document121 Filed 03/31/25 Pagelof1

UNITED STATES DISTRICT COURT

DISTRICT OF MARYLAND
OFFICE OF THE CLERK

Catherine M. Stavlas, Clerk of Court
Reply to Northern Division Address David E. Ciambruschini, Chief Deputy

March 28, 2025

Ryan Christopher Wilson
3573 Warder Street NW
Washington, DC 20010
Re: Case No. 1:25-cv-748-JKB
Dear Counsel/Party:

The Clerk received your bond payment on March 27, 2025; however, it is deficient in the
area(s) checked below and is being returned to you.

Noncompliance with L.R. 101 or 102 Noncompliance with L.R. 102 and FRCivP 5
(J Member of bar has not signed the document. Cl Certificate of service not affixed to document.
(J Business entities other than sole {] Certificate of service not dated and/or not
proprietorships must be represented by signed.
counsel.
Noncompliance with L.R. 104 or 105 Miscellaneous

(1 Discovery materials should not be filed unless [1] Document does not contain original signature.
in support of a motion or by court order.
[1 Discovery motion filed contrary to L.R. 104.7. [ Document relates to more than one file.
. . Original and appropriate copies are required
(1 Motion to compel filed contrary to L.R. 104.8. for each file unless the cases have been
consolidated for all purposes.
(] Offer of judgment should not be filed with the
Court until it has been accepted. Fed. R. Civ.
P. 68,
Other: The $100 bond payment for the District
of Columbia was already paid on March 25,

af abo glee

JamesK. Bredar
United States District Judge

ce: Other counsel/party
Return pleading letter (Rev. 02/2011)

Northern Division * 4228 U.S. Courthouse « 101 W. Lombard Street « Baltimore, Maryland 21201+ 410-962-2600
Southern Division * 200 U.S. Courthouse - 6500 Cherrywood Lane + Greenbelt, Maryland 20770 * 301-344-0660

Visit the U.S. District Court’s Website at www.mdd.uscourts.gov

